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                                                                                   2020 Sep-21 PM 03:24
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                          MIDDLE DIVISION

WILLIAM C. MILES, SR.,    )
    Plaintiff,            )
                          )
v.                        )                   Case No.: 4:19-cv-00756-CLM
                          )
WAL MART ASSOCIATES, INC. )
WAL MART STORES EAST, LP )
   Defendants.            )

                           MEMORANDUM OPINION

      Plaintiff William Miles alleges three counts in his complaint. Doc. 1 at 6-10.

Defendant Wal Mart has moved the court for summary judgment on all three counts.

Docs. 21 (motion); 23 (brief in support).

      In his brief in opposition, Miles “voluntary dismisses Counts II and III of his

Complaint without prejudice.” Doc. 27 at 4, n.1. The court construes this as a motion

for voluntary dismissal under Rule 41(a), which the court grants in a separate order.

      That leaves Count 1, which alleges that Wal Mart fired Miles because of a

disability (i.e. a shoulder injury). Wal Mart argues that Miles cannot establish a

prima facie case of discrimination. See Doc. 23 at 11-13. But the court agrees with

Miles that the parties dispute genuine issues of material fact that would prove a prima

facie case. See Doc. 27 at 24-37. Because the parties have a genuine dispute over the

prima facie case, Count 1 must be decided by a jury.
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      So the court will deny Wal Mart’s motion for summary judgment as to Count

1 and dismiss as moot Wal Mart’s motion as to Counts 2 and 3 (because the court

grants Miles’s motion to voluntarily dismiss those counts). The court will enter

separate orders for each ruling.

      The parties should be ready to discuss trial dates and the pending pretrial

motions during the September 22, 2020 status conference. Once a trial date is

selected, the court will enter an order lifting the stay (doc. 38) and setting this case

for trial in Anniston.

      DONE on September 21, 2020.




                                     _________________________________
                                     COREY L. MAZE
                                     UNITED STATES DISTRICT JUDGE
